Case 2:24-cv-07635-JKS-LDW               Document 30   Filed 08/27/24       Page 1 of 2 PageID: 283



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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
 DALE YLITALO, individually and on behalf              Case No. 2:24-cv-07635-JKS-LDW
 of all others similarly situated,
                                                       Hon. Jamel K. Semper, U.S.D.J.
                            Plaintiff,                 Hon. Leda Dunn Wettre, U.S.M.J.

                       v.

 AUTOMATIC DATA PROCESSING, INC.,
 ADP, INC., and AMERICAN CENTURY
 INVESTMENT SERVICES, INC.,

                            Defendants.
Case 2:24-cv-07635-JKS-LDW   Document 30   Filed 08/27/24   Page 2 of 2 PageID: 284
